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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION



IMANU J. SHABAZZ,

                     Plaintiff,

v.                                                                  4:04cv72-WS

JAMES V. CROSBY, et al.,

                     Defendants.



                                  ORDER OF DISMISSAL

       Before the court is the magistrate judge's report and recommendation (doc. 13)

docketed April 12, 2005. The magistrate judge recommends that the case be dismissed

for failure to prosecute.

       Upon review of the record, this court has determined that the magistrate judge’s

report and recommendation should be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation is adopted and

incorporated by reference in this order of the court.

       2. This case is hereby DISMISSED without prejudice for failure to prosecute.
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       3. The clerk is directed to enter judgment accordingly.

       DONE AND ORDERED this May 13, 2005.




                                         /s William Stafford
                                         WILLIAM STAFFORD
                                         SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:04cv38-WS
